Case 2:19-cv-06350-DSF-AS Document 59 Filed 09/24/21 Page 1 of 1 Page ID #:437




                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA

  BRIAN WHITAKER                       CASE NO.
                                       2:19−cv−06350−DSF−AS
               Plaintiff(s),
        v.                              Order to Show Cause re
  NOHO 1, L.P., et al.                  Dismissal for Lack of
                                        Prosecution
             Defendant(s).




        Default has been entered by the Clerk as to the remaining defendants. No
     motion for default judgment has been filed. Plaintiff is ordered to file a
     motion for default judgment on or before October 25, 2021. Failure to file a
     default judgment motion by that date may result in sanctions, including
     dismissal for failure to prosecute.

       IT IS SO ORDERED.

  Date: September 24, 2021                  /s/ Dale S. Fischer
                                           Dale S. Fischer
                                           United States District Judge
